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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, as Administrators of the Estate of      )
 MATTHEW PHILLIPS, Deceased,                       )
                                                   )
                                Plaintiff,         )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

                        JOINT MOTION FOR EXTENSION
               OF TIME TO FILE A MOTION FOR PROTECTIVE ORDER

        Defendant United States of America, by its attorney, John R. Lausch, Jr., United States

 Attorney for the Northern District of Illinois, together with Plaintiffs Susan Phillips and Jeffrey

 Phillips, as administrators of the estate of Matthew Phillips, deceased, by their undersigned

 attorneys, move the court for a seven-day extension of time to submit either an agreed motion

 for entry of protective order, or in the alternative, for the United States to file an opposed motion

 for entry of a protective order. In support of this motion, the parties state as follows:

       1.      Plaintiffs filed a Federal Tort Claims Act complaint against the United States

alleging wrongful death and negligence in connection with the death of a USP Thomson inmate.

       2.      The United States answered plaintiffs’ complaint on August 11, 2022. Dkt. 13.

       3.      The parties appeared before the court for their initial status hearing on August 25,

2022. Dkt. 15. At that time, the court ordered the parties to file an “anticipated agreed motion

for protective order” by September 30, 2022. Id.

       4.      The parties are still in the process of discussing the terms of a proposed protective

order and require additional time to complete these discussions. At present, the only outstanding
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issue regards the inclusion of an “Attorneys’ Eyes Only” designation in the protective order. All

other items have been agreed to.

       5.      Accordingly, the parties request an additional seven days to continue their

discussions over the “Attorneys’ Eyes Only” designation to determine whether they can come to

an agreement on this issue without court intervention.

       WHEREFORE, the United States and Plaintiffs Susan Phillips and Jeffrey Phillips jointly

request an extension of time to October 7, 2022, to submit an agreed motion for a protective order

to the court, or in the alternative for the United States to file an opposed motion for entry of a

protective order.

Respectfully submitted,


/s/ Nicholas A. DiCello                                     JOHN R. LAUSCH, Jr.
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NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
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